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EALE                   PJNITED STATES DISTRICT COURT
                              WESTERN ISTRICT OF TEXAS                      CLERK
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                                      DON10 DIVISION                                            1CT COURT
                                SAN ANT                                                          c   TEX5
 UNITED STATES OF AMERICA,                        §
        Plaintjff                                 §   CRIMINAL NO.:
                                                  §
                                                  §   INDICTMENT
                                                  §
                                                  §   [Counts 1 10: Cyberstalking,
                                                  §   18 U.S.C. § 2261A(2)J
                                                  §
                                                  §
                                                 §
 CHRISTOPHER ZAMARRIPA,
                                              S 19 CR0349 F B
                                                  §




THE GRAND JURY CHARGES:

                                          COUNT ONE
                             [Cyberstalking - 18 U.S.C. § 2261A(2)]

       Beginning on or about August 3, 2014, and continuing through the date of this

indictment, in the Western District of Texas, and elsewhere, the Defendant,

                               CHRISTOPHER ZAMARRIPA,

with the intent to harass, intimidate and place under surveillance with intent to harass and

intimidate another person, namely an individual with the initials M.F., used an interactive

computer service, electronic communication service, electronic communication system of

interstate commerce, and other facility of interstate and foreign commerce to engage in a course

of conduct that caused, attempted to cause, and would be reasonably expected to cause

substantial emotional distress to M.F., all in violation of Title 18, United States Code, Section

2261A(2)(B).

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                                          COUNT TWO
                             [Cyberstalking - 18 U.S.C.   §   226 1A(2)]

       Beginning on or about February 7, 2016, and continuing through the date of this

indictment, in the Western District of Texas, and elsewhere, the Defendant,

                                CHRISTOPHER ZAMARRIPA,

with the intent to harass, intimidate and place under surveillance with intent to harass and

intimidate another person, namely an individual with the initials T.O., used an interactive

computer service, electronic communication service, electronic communication system of

interstate commerce, and other facility of interstate and foreign commerce to engage in a course

of conduct that caused, attempted to cause, and would be reasonably expected to cause

substantial emotional distress to T. 0., all in violation of Title 18, United States Code, Section

2261A(2)(B).

                                        COUNT THREE
                              [Cyberstalking - 18 U.S.C. §2261A(2)]

        Beginning on or about December 1, 2016, and continuing through the date of this

indictment, in the Western District of Texas, and elsewhere, the Defendant,

                                CHRISTOPHER ZAMARRIPA,

with the intent to harass, intimidate and place under surveillance with intent to harass and

intimidate another person, namely an individual with the initials D.C., used an interactive

computer service, electronic communication service, electronic communication system of

interstate commerce, and other facility of interstate and foreign commerce to engage in a course

of conduct that caused, attempted to cause, and would be reasonably expected to cause
                                                   2
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                      distress to D.C., all in violation of Title 18, United States Code, Section
substantial emotional

2261 A(2)(B).
                                         COUNT FOUR
                              [Cyberstalking - 18 U.S.C. § 2261A(2)]

                                          2016, and continuing through the date
                                                                                of this
        Beginning on or about December 1,

indictment, in the Western District
                                    of Texas, and elsewhere, the Defendant,

                                 CHRISTOPHER ZAMARRIPA,
                                                                                              and
                                           place     under surveillance with intent to harass
 with the intent to harass, intimidate and
                                     child victim, hereinafter referred      to as CV1, used an
 intimidate another person, namely a

              computer   service, electronic  communication service, electronic communication
 interactive
                                                                                   commerce to engage in
          of interstate commerce,   and   other facility of interstate and foreign
 system
                                                  to cause, and would be reasonably
                                                                                       expected to cause
  a course of  conduct  that caused,  attempted
                                                                                         Code, Section
               emotional  distress to CV1,   all in violation of Title 18, United States
  substantial

 2261 A(2)(B).


                                            COUNT FIVE
                                [Cyberstalking - 18 U.S.C. § 2261A(2)]
                                                                                      date of   this
                                                     2016, and continuing through the
          Beginning on or about December        1,


                                            Texas, and elsewhere, the Defendant,
  indictment, in the Western District of
                                   CHRISTOPHER ZAMARRIPA,
                                                                             intent to   harass and
                                           and place under surveillance with
   with the intent to harass, intimidate
                                        individual with the initials      D.M., used an interactive
   intimidate another person, namely an
                                              service,         electronic communication system of
   computer service, electronic communication
                                                                                               a course
                                           of interstate     and foreign commerce to engage in
   interstate commerce, and other facility
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of conduct that caused, attempted to cause, and would be reasonably expected to cause

substantial emotional distress to D.M., all in violation of Title 18, United States Code, Section

2261A(2)(B).


                                          COUNT SIX
                             [Cyberstalking 18 U.S.C. § 226 IA(2)]

       Beginning on or about December 3, 2016, and continuing through the date of this

indictment, in the Western District of Texas, and elsewhere, the Defendant,

                                CHRISTOPHER ZAMARRIPA,

with the intent to harass, intimidate and place under surveillance with intent to harass and

intimidate another person, namely an individual with the initials S.K., used an interactive

computer service, electronic communication service, electronic communication system of

interstate commerce, and other facility of interstate and foreign commerce to engage in a course

of conduct that caused, attempted to cause, and would be reasonably expected to cause

substantial emotional distress to S.K, all in violation of Title 18, United States Code, Section

2261A(2)(B).

                                        COUNT SEVEN
                             [Cyberstalking - 18 U.S.C. § 2261A(2)]

        Beginning on or about December 7, 2016, and continuing through the date of this

indictment, in the Western District of Texas, and elsewhere, the Defendant,

                                CHRISTOPHER ZAMARRIPA,

with the intent to harass, intimidate and place under surveillance with intent to harass and

intimidate another person, namely an individual with the initials M.S., used an interactive

computer service, electronic communication service, electronic communication system of

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                                                                   commerce to engage in a course
interstate commerce, and cither facility of interstate and foreign
                                                                       expected to cause
of conduct that caused, attempted to cause, and would be reasonably
                                                            Title 18, United States Code, Section
substantial emotional distress to M.S., all in violation of

2261A(2)(B).

                                        COUNT EIGHT
                             [Cyberstalking 18 U.S.C. § 226 1A(2)J
                                                                      the date of this
       Beginning on or about January 29, 2017, and continuing through
                                                             the Defendant,
indictment, in the Western District of Texas, and elsewhere,

                                CHRISTOPHER ZAMARRIPA,
                                                                   with intent to harass   and
with the intent to harass, intimidate and place under surveillance
                                                                  K.M., used an interactive
intimidate another person, namely an individual with the initials
                                                               communication system of
computer service, electronic communication service, electronic
                                                          foreign commerce to engage in a course
interstate commerce, and other facility of interstate and
                                                                    expected to cause
of conduct that caused, attempted to cause, and would be reasonably
                                                             Title 18, United States Code, Section
 substantial emotional distress to K.M., all in violation of

 2261 A(2)(B).

                                          COUNT NINE
                              [Cyberstalking - 18 U.S.C. § 226 1A(2)}

                                                                 through the date of this
         Beginning on or about February 15, 2017, and continuing
                                                              the Defendant,
 indictment, in the Western District of Texas, and elsewhere,

                                  CHRISTOPHER ZAMARRIPA,
                                                                    with intent to harass and
 with the intent to harass, intimidate and place under surveillance

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intimidate another person, namely an individual with the initials L.F., used an interactive
                                                                                    of
computer service, electronic communication service, electronic communication system
                                                                              engage in a course
interstate commerce, and other facility of interstate and foreign commerce to

of conduct that caused, attempted to cause, and would be reasonably expected to cause
                                                                                    Code, Section
substantial emotional distress to L.F., all in violation of Title 18, United States

2261A(2)(B).

                                          COUNT TEN
                             [Cyberstalking 18 U.S.C. § 226 1A(2)]

        Beginning on or about July 30, 2017, and continuing through the date of this indictment,

in the Western District of Texas, and elsewhere, the Defendant,

                                CHRISTOPHER ZAMARRIPA,
                                                                                         and
with the intent to harass, intimidate and place under surveillance with intent to harass

intimidate another person, namely an individual with the initials K.B., used an interactive
                                                                             system of
computer service, electronic communication service, electronic communication
                                                                                     in a course
interstate commerce, and other facility of interstate and foreign commerce to engage

of conduct that caused, attempted to cause, and would be reasonably expected to cause
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                                                                  18, United States Code, Section
substantial emotional distress to K.B., all in violation of Title

226 IA(2)(B).
                                                       A TRUE BILL.



                                                       GRAND JURY IthREPERSON




        JOHN F. BASH
        United States Attorney



 By:
        jBETTNA J. RICHARDSON
        IAssistant United States Attorney




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